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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                        IN THE UNITED STATES DISTRICT COURT                           January 29, 2021
                        FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

LATORRENCE TORELL NEWMAN,                       §
                                                §
               Plaintiff,                       §
                                                §
v.                                              §           CIVIL ACTION NO. H-19-352
                                                §
OFFICER MARFO, et al.,                          §
                                                §
               Defendants.                      §

                        ORDER DENYING MOTION FOR COUNSEL

         LaTorrence Torell Newman, representing himself, filed a complaint under 42 U.S.C. §

1983 alleging violations of his civil rights.       Newman has now filed a motion requesting

appointment of counsel. (Docket Entry No. 79). Newman requests counsel on the grounds that

he is incarcerated and unable to afford an attorney. This is his fourth motion for appointment of

counsel.

         A civil rights plaintiff has no automatic right to the appointment of counsel.         See

Hulsey v. State of Texas, 929 F.2d 168, 172–73 (5th Cir. 1991) (citing Freeze v. Griffith, 849

F.2d 172, 175 (5th Cir. 1988); Ulmer v. Chancellor, 691 F.2d 209, 212 (5th Cir. 1982)). The

appointment of counsel is not required unless a case presents exceptional circumstances. See

Hulsey, 929 F.2d at 173 (citing Ulmer, 691 F.2d at 212–13). Newman does not show that

exceptional circumstances are present in this case. His motion will be denied at this time. If

appropriate, the court will reconsider whether counsel is necessary on its own motion at a later

date.
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       Because the record does not show exceptional circumstances, Newman’s motion for

appointment of counsel, (Docket Entry No. 79), is denied. Newman is cautioned that further

motions for appointment of counsel may result in the imposition of sanctions.

              SIGNED on January 28, 2021, at Houston, Texas.



                                            _______________________________________
                                                         Lee H. Rosenthal
                                                  Chief United States District Judge




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